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8                         IN THE UNITED STATES DISTRICT COURT

9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,               ) 2:10-CR-00299-03
                                             )
12               Plaintiff,                  )
                                             ) STIPULATION AND ORDER
13         v.                                ) CONTINUING JUDGMENT AND
                                             ) SENTENCING DATE
14   MARA DAWN STILES,                       )
                                             )
15                                           ) Judge: Hon. William B. Shubb
                 Defendant.                  )
16                                           )
                                             )
17

18                                      STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through her counsel of record, hereby stipulate

21   as follows:

22      1. This matter was previously set for a Judgment and Sentencing

23         Hearing on May 12, 2014.

24      2. The PSR related to this case has not yet been completed.

25      3. The Proposed Pre-Sentence Report Shall Be Disclosed to Counsel

26         No Later than June 9, 2014 (six weeks before sentencing).

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28   ///

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30   Stipulation to Continue                  1               United States v. Stiles
            Case 2:10-cr-00299-WBS Document 391 Filed 05/12/14 Page 2 of 2


1       4. Counsel’s Written Objections to the Pre-Sentence Report Shall be

2          delivered to the Probation Officer No Later than June 23, 2014

3          (four weeks before sentencing).

4       5. The Pre-Sentence Report Shall Be Filed with the Court No Later

5          than June 30, 2014 (three weeks before sentencing).

6       6. Motion for Correction of the Pre-Sentence Report Shall be Filed

7          with the Court No Later than July 7, 2014 (two weeks before

8          sentencing), any Reply or Statement shall be filed by July 14,

9          2014.

10      7. By this Stipulation, the parties now move to continue the

11         Judgment and Sentencing Hearing until July 21, 2014, at 9:30

12         a.m.

13   IT IS SO STIPULATED.

14

15   DATED: May 9, 2014                   /s/ Justin L. Lee   _
                                        JUSTIN L. LEE
16                                      Assistant U.S. Attorney
17   DATED: May 9, 2014                   /s/ Dina Santos     _
                                        DINA SANTOS
18                                      Attorney for MARA DAWN STILES
                                        (as authorized on May 9, 2014)
19

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21                                         ORDER
22         IT IS SO FOUND AND ORDERED.
23   Dated:   May 9, 2014
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30   Stipulation to Continue                  2               United States v. Stiles
